     Case 1:08-cr-00081-KD-M            Doc# 128        Filed 04/30/09        Page 1 of 4        PageID# 476
AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations                                    #9613


                 UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF ALABAMA

        UNITED STATES OF AMERICA                          JUDGMENT IN A CRIMINAL CASE
                         V.                               (For Revocation of Probation or Supervised Release)
        MARC STEVEN GRELL

                                                          CASE NUMBER: CR 08-00081-002
                                                          USM NUMBER: 10323-003

THE DEFENDANT:                                                     J. Clark Stankoski
                                                          Defendant's Attorney


(x)     admitted guilt to violation of supervision condition(s): Special Condition
()      was found in violation of supervision condition(s):
                                                                                            Date violation
Violation Number                                  Nature of Violation                       Occurred
Special Condition                                 Technical


      The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


()     The defendant has not violated condition(s)                 and is discharged as to such violation(s)
condition.

         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid.

                                                                April 9, 2009
Defendant's Residence Address:                                Date of Imposition of Judgment
 360 Green Park Drive
 Mobile, AL 36695

                                                               s/Kristi K. DuBose
                                                              UNITED STATES DISTRICT JUDGE


                                                               April 30, 2009
                                                              Date
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AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 2 - Imprisonment
Defendant: MARC STEVEN GRELL
Case Number: CR 08-00081-002
                                           IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FIVE (5) MONTHS .




()      The court makes the following recommendations to the Bureau of Prisons:




(X) The defendant is remanded to the custody of the United States Marshal.
( ) The defendant shall surrender to the United States Marshal for this district:
  ( ) at .m. on .
  ( ) as notified by the United States Marshal.
()      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
        Prisons:
  ()      before 2 p.m. on        .
  ()      as notified by the United States Marshal.
  ()      as notified by the Probation or Pretrial Services Office.

                                                     RETURN
I have executed this judgment as follows:




Defendant delivered on                          to                                     at

with a certified copy of this judgment.
                                                                             UNITED STATES MARSHAL


                                                                       By:
                                                                                       Deputy U.S. Marshal
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AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: MARC STEVEN GRELL
Case Number: CR 08-00081-002
                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of THIRTY (30)
MONTHS.
The Court re-imposes the original and special conditions initially imposed on October 24, 2008:
the offender shall participate in a program of testing and treatment for drug and/or alcohol abuse,
as directed by the Probation Office; and, the offender is to have no verbal or physical altercations
with Cheryl Grell during their divorce.


Special Conditions: If this defendant originally received probation please remember to include all
criminal monetary penalties with this judgment.

         For offenses committed on or after September 13, 1994: The defendant shall refrain
         from any unlawful use of a controlled substance. The defendant shall submit to one drug
         test within 15 days of release from imprisonment and at least two periodic drug tests
         thereafter, as directed by the probation officer.
         ()      The above drug testing condition is suspended based on the court’s determination that the
                 defendant poses a low risk of future substance abuse. (Check, if applicable)

()       The defendant shall register with the state sex offender registration agency in the state where the
         defendant resides, works, or is a student, as directed by the probation officer. (Check, if
         applicable)

()       The defendant shall participate in an approved program for domestic violence. (Check, if
         applicable)

(x)      The defendant shall not possess a firearm, destructive device, or any other dangerous
         weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7A).
The defendant shall also comply with the additional conditions on the attached page (if
applicable).

                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
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AO 245D (Rev. 12/03) Judgment in a Criminal Case for Revocations: Sheet 3 - Supervised Release
Defendant: MARC STEVEN GRELL
Case Number: CR 08-00081-002
                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation
officer;
2) the defendant shall report to the probation officer and shall submit a truthful and complete written
report within the first five days of each month;
3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
of       the prob. officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;
5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
         schooling, training, or other acceptable reasons;
6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
         employment;
7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,
         distribute, or administer any controlled substance or any paraphernalia related to any controlled
         substances, except as prescribed by a physician;
8) the defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;
9) the defendant shall not associate with any persons engaged in criminal activity, and shall not
associate        with any person convicted of a felony unless granted permission to do so by the
probation officer;
10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere
and      shall permit confiscation of any contraband observed in plain view of the probation officer;
11) the defendant shall notify the probation officer within seventy-two hours of being arrested or
questioned
         by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
         enforcement agency without the permission of the court;
13) as directed by the probation officer, the defendant shall notify third parties of risks that may be
         occasioned by the defendant's criminal record or personal history or characteristics, and shall
permit
         the probation officer to make such notifications and to confirm the defendant's compliance with
such notification requirement.
14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if
         applicable, under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants
         convicted of qualifying offenses.
